UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

JAS ON BALZARINI,
Plaintiff,
v.

TOWN OF ROCKPORT, MARK SCHMINK
and JOHN HORVATH

DOCKET NO. l:l7cvl l3l3-FDS

Defendants.

 

 

DEFF.NDANTS’ MOTION TO COMPEL PLA.INTIFF
TO IDENTIFY THE NATURE OF I'-IIS ALLEGED DISABIL`ITY

INTRODUCTION

Plaintiff Jason Balzarini (“Balzarini”), a police officer for the Town of Rockport, alleges
that the Defendants Mark Schminl<, a Rockport Police Lieutenant, and Police Chief John
Horvath (collectively “Defendants”) violated his rights under the Uniformed Services
Employment and Reemployment Rights Act (“USERRA”), 38 U.S.C. § 4301, et seq, by, inter
alia, harassing him in retaliation for his service in the National Guard. Among the acts of
harassment Plaintiff alleges was a conversation between him and the Defendants concerning
Plaintiff`s report of a back injury he suffered while on a police call, during which Plaintiff
alleges that the Defendants asked him if he had suffered any injuries while in the military that
would prevent him from doing his job, and, allegedly, mentioned that they had heard about
Plaintiff being injured during his deployment.

During his deposition, Plaintiff asserted that the Defendants’ question as to whether he

had suffered any injuries in the military was unlawful, because the question violated the

“Disabled Veterans Act.” Plaintiff’s Deposition Testimony (Exhibit l), 126117-128:12.l
Plaintiff proceeded to testify that he is in fact a disabled veteran (l_dg 127:13-14), but when asked
to identify the nature of his disability, refused to answer upon the instruction of his counsel, who
took the position that the information is irrelevant.

By this motion, Defendants seek to compel Plaintiff to disclose: (l) the disability which
is the basis for his status as a disabled veteran; (2) whether the disability resulted from an injury
suffered while he was deployed; and (3) the nature of any such injury. As grounds for this
motion, Defendants state that Plaintiff has made the information relevant, by claiming that the
Defendants’ inquiry as to whether he has any injuries that would affect his job performance is
discrimination in violation of USERRA. Further, Plaintiff seeks damages for alleged emotional
distress in this matter, and Defendants are entitled to explore whether there is another potential
cause of his emotional distress. (Defendants are not at this point seeking Plaintist medical
records regarding the purported disability.)2

As further grounds for this motion, Defendants rely on the within Memorandum.

FACTUAL BACKGROUND
In his First Amended Complaint, Plaintiff alleges that:

ln or around July 2016 Balzarini tweaked his back while transporting a heavy individual
down a flight of stairs. He reported the injury casually, but declined medical help.
Schmink and Horvath then interrogated him about whether he had any physical limitations
due to his military service. They told him that he needed to report right away if there were
any injuries he sustained in the military that would prevent him from doing his job.
Schmink reminded Balzarini about a story he had heard of Balzarini falling out of a
Humvee during his deployment. He told Balzarini: “If you can’t work here, you need to
tell me right now.”

 

1 Defendants presume Plaintiff was referring to USERRA.
2 Defendants have conferred with Plaintiff regarding this issue through detailed written correspondence, and have
been unable to resolve or narrow the dispute.

§§ First Amended Complaint, 118.

Plaintiff repeated these allegations in response to an lnterrogatory which asked him to

identify instances of alleged harassment by the Defendants. §e§ Plaintiff’ s Responses to

lnterrogatories (Exhibit 2 hereto), No. 2.

At his deposition, plaintiff identified the conversation as an example of how the

Defendants have discriminated against him due to his military service, as follows:

Q.

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.C.>@.>

And did you believe it was inappropriate for them to ask you if they should be
made aware of any injuries you sustained while in the military?

Yes.
Why?
I believe that was protected information

If you sustained an injury in the military that affects your ability to perform your
job as a police officer for the Town of Rockport, do you think you have to report
it to the town?

l didn’t.

Do you think you would if you sustained an injury?

Yeah.

Do you think they were - Do you think them asking you that was inappropriate?
Mr. Sulman: Objection. You can answer.

l thought this was a violation of the Disabled Veterans Act. That’s why l wrote it
down.

Are you a disabled veteran?

Yes.

Have you disclosed your disability to the town?
Mr. Sulman: Objection.

No.

ls the disability something that could affect your ability to perform your functions
as a police officer?

Mr. Sulman: Objection. Don’t answer.

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Ms. Ecker: You’re instructing your client not to answer?
Mr. Sulman: Yes.
l\/ls. Ecker: Basis?

Mr. Sulman: On the basis of what this case is about, it’s privileged information.
Not privileged information It’s just not relevant or remotely relevant or likely to
lead to the admissibility of admissible evidence.

Ms. Ecker: So you think it’s not relevant whether this individual was injured,
is considered disabled in the military, in his ability to perform his job as a police
officer?

Mr. Sulman: No.
Exhibit l, 126:17-128:12. Plaintiff thought the Defendants’ statements to be so important
that he wrote them down in a personal notebook at the time he claims the conversation occurred.3
I_d,125:15-126:6.

ARGUMENT

Pursuant to Fed.R.Civ. P. 30(0)(2), “A person may instruct a deponent not to answer only
when necessary to preserve a privilege, to enforce a limitation ordered by the court, or to present
a motion under Rule 30(d)(3).” The instruction to Plaintiff not to answer the questions as to his
disability does not meet any of these criteria; rather, counsel instructed Plaintiff not to answer on
grounds of relevance alone. Exhibit 2, 128:2-12. Alleged lack of relevance is not grounds to
instruct a deponent not to answer a question, and Plaintiff should be instructed to provide the
requested information on this basis alone.

In any event, as noted above, the information sought is clearly relevant to this action,
based on Plaintiff’ s own assertions. Plaintiff has repeatedly asserted that the Defendants’

questioning of him about an alleged injury that he suffered while deployed was an act of

 

3 Plaintiff has produced the page on which the note about the conversation was written, but has objected to
producing the notebook from which the page was taken. Defendants are currently attempting to resolve the dispute
over the notebook.

discrimination under USERRA, because the injury rendered him disabled. The Defendants, who
have no prior knowledge of any disability claimed by the Plaintiff, are entitled to know the injury
and disability which he claims is the basis of their alleged discrimination

Moreover, where Plaintiff alleges that he has suffered emotional distress due to the
actions of the Defendants, and seeks damages for same, Defendants have the right to evaluate
and explore other potential sources of such distress, including a disability. Defendants have not
at this time asked for medical records related to the disability; rather Defendants seek at this
point simply to have Plaintiff identify the nature of his disability and the injury that gave rise to
it.

WHEREFORE, Defendants request that this Court compel Plaintiff to disclose: (l) the
disability which is the basis for his status as a disabled veteran; (2) Whether the disability resulted
from an injury suffered while he was deployed; and (3) the nature of any such injury.

DEFENDANTS

By their attomey,

/s/ Deborah l. Ecker
Deborah I. Ecker (BBO# 554623)
KP Law, P.C.

Town Counsel
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Boston, MA 02110-1109
(617) 556-0007

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l hereby certify that l have conferred with counsel for the Plaintiff regarding the within motion by
exchange of letters setting forth each party’s position as to the issue in dispute, and the parties have been
unable to resolve or narrow the dispute, /s/Deborah I. Ecker

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I certify that the within document will be served by first~class mail upon any party or counsel of record Who
is not a registered participant of the Court’s IECF systcm, upon notification by the Court of those individuals who

Will not be served electronically. /s/Deborah I. Ecker
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